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Zann Welch
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BANKRUPTCY SERVICER FOR BMW Financial Services NA, LLC

                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                     §
                                           §
ADRIAN STAFFORD VERWAYNE                   §    CASE NO. 18-50346-BE-13
                                           §    CHAPTER 13
                                           §
DEBTOR(S)                                  §


                 NOTICE OF WITHDRAWAL OF REQUEST FOR NOTICE


   COMES NOW, AIS Portfolio Services, LP, bankruptcy servicer for BMW Financial Services
NA, LLC, and files this its Notice of Withdrawal of the Request for Notice filed in the
above-styled and numbered case on January 17, 2018.

                                           Respectfully submitted,


                                           /s/ Zann Welch
                                           ZANN WELCH
                                           AIS PORTFOLIO SERVICES, LP
                                           P.O. BOX 165028
                                           IRVING, TX 75016
                                           (817) 277-2011

                                           BANKRUPTCY SERVICER FOR
                                           BMW Financial Services NA, LLC
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                                    CERTIFICATE OF SERVICE


I, the undersigned, do hereby certify that a true and correct copy of the above and foregoing Notice of
Withdrawal of the Request for Notice was forwarded to all parties of interest as listed below or
attached hereto via First Class, U.S. Mail, postage prepaid (unless otherwise indicated) on this 31st
day of January, 2018.

                                                /s/ Zann Welch
                                                Zann Welch


DEBTOR ATTORNEY:
Karen King
King & King Law Llc
215 Pryor Street Sw
Atlanta, GA 30303

TRUSTEE:
Trustee of the U.S. Bankruptcy Court
